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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION


 YELLOWHAMMER FUND, on behalf of             )
 itself and its clients,                     )
                                             )
        Plaintiff,                           )
                                             )
        v.                                   ) Civil Action No. 2:23-cv-450-MHT
                                             )
 ATTORNEY GENERAL OF ALABAMA                 )
 STEVE MARSHALL, in his official             )
 capacity,                                   )
                                             )
        Defendant.                           )

                                             )
 WEST ALABAMA WOMEN’S CENTER, )
 on behalf of themselves and their staff, et )
 al.,                                        )
                                             )
        Plaintiffs,                          )
                                             ) Civil Action No. 2:23-cv-451-MHT
        v.                                   )
                                             )
 STEVE MARSHALL, in his official             )
 capacity as Alabama Attorney General,       )
                                             )
        Defendant.                           )
                             MOTION TO AMEND CAPTION

       Plaintiffs West Alabama Women’s Center, Alabama Women’s Center, and Yashica

Robinson, M.D. (“WAWC Plaintiffs”), by and through undersigned counsel, hereby move the

Court to amend the full case caption to identify Plaintiff Alabama Women’s Center’s as Alabama

Center for Reproductive Alternatives, LLC, d/b/a Alabama Women’s Center, which is the entity’s

full legal name, followed by the name under which it does business. Prior filings mistakenly

identified the abovementioned party only by the name under which it does business.
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        The WAWC Plaintiffs’ Motion is intended only to correct an administrative error, and thus

does not seek substantive relief. A motion to amend the caption is not, and does not require, a

motion for leave to amend the complaint. 1 See, e.g., Woodard v. Tate & Kirlin Assocs., No. 1:08-

cv-416, 2008 WL 11470999, *2 n.1 (N.D. Ga. Apr. 22, 2008); Siegworth v. Sun City Stables, No.

8:09-cv-973, 2010 WL 11627537, *1 (M.D. Fla. Feb. 16, 2010). Accordingly, the WAWC

Plaintiffs respectfully request that their Motion to Amend Caption be granted.


Dated: June 12, 2024

                                                          Respectfully submitted,

                                                          /s/Alison Mollman
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1
 Because this is not a substantive motion to amend the complaint (or any other document or pleading),
but merely a request to correct an administrative error in the case caption, the requirements of Local Rule
15.1 are inapplicable.
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed using the

Court’s CM/ECF system on this 12th day of June 2024, which will serve all counsel of record.



                                                    /s/Alison Mollman
                                                    Alison Mollman
